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IN THE UNITED STATES DISTRICT COURT FOR THE
WESTERN DISTRICT OF PENNSYLVANIA
PITTSBURGH DIVISION

WENDELL H. STONE COMPANY, INC.
d/b/a STONE & COMPANY, individually and

on behalf of all others similarly situated,
Plaintiff,

V.

PC SHIELD INC., an Oklahoma corporation,

Defendant.

Case No. 2:18-cv-01135-AJS

 

 

PROOF OF SERVICE

I received the following document for service upon PC Shield Inc. on March 26, 2019:

Memorandum Order re Plaintiff's Motion to Deem Requests for Admission Admitted (Doc. 15).

I personally served the document by delivering a copy of it to the named person as

follows: Brandie M. Jordan aka Brandie M. Law, 1009 NE 6th Street, Moore, Oklahoma 73160

on April 23, 2019 at 4:42 p.m.

I declare under penalty of perjury that this information is true and accurate.

Dated: 7. / f Of F

LL, we

Server’s Signature

fo. Oxy E ces Serve

Printed Name and Title

(320 NW. €. [0f4. St, ORL, Wh 7717-7

Server’s Address

 
